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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


                                       )
JON M. TAYLOR,                         )
            Plaintiff,                 )
                                       )
       v.                              )   CIVIL ACTION NO. 03-12417
                                       )
TOWN OF FREETOWN, et al.,              )
             Defendants.               )
                                       )

                         MEMORANDUM AND ORDER

                            March 29, 2007
Saris, U.S.D.J.

                            I. INTRODUCTION

     Plaintiff Jon. M. Taylor alleges that Defendants the Town of

Freetown (“the Town”); Carlton E. Abbott, the police chief; and

Walter Sawicki, his supervisor, violated his First Amendment

rights and state law by taking retaliatory actions against him

for refusing to cover up, and then protesting, police corruption.

Defendants have moved for summary judgment on the grounds that

Plaintiff’s speech was not protected, the claims are time-barred,

and the evidence is insufficient.      The record is extremely messy

and complicated with at least six alleged protected acts and

multiple acts of alleged retaliation.       After hearing, and a

review of the complex record, the motion is ALLOWED.

                               II. FACTS

     When all reasonable inferences have been drawn in the

Plaintiff’s favor, the record supports the following facts, many
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of which are hotly disputed.

     A.    The Parties

     Plaintiff is a police officer in Freetown, Massachusetts

with a graduate degree in criminal justice.        Freetown’s police

department is small, consisting of only 17 officers.         Taylor

joined the Department in November 1988 as an Auxiliary Police

Officer.   He was promoted to a Reserve Police Officer and then to

a full-time officer on September 6, 1997.

     Carlton E. Abbott, Jr., Esq. has been the Chief of Police

and Taylor’s supervisor since July 1998.       Since 1999, Abbott has

had the authority to discipline subordinates.        Lieutenant Walter

Sawicki is also Taylor’s supervisor, and serves as the Internal

Affairs (“IA”) Officer who investigates complaints against the

police.    The Board of Selectmen (“the Board”) is the appointing

authority for all Department personnel and possesses ultimate

authority in hiring, firing, and promotional decisions.          The

Board also serves as the Department’s Police Commission,

overseeing Abbott and his department.

     B.    The Cable Details

     In September 1998, Officer Elton Ashley approached Taylor,

allegedly at the direction of Chief Abbott, and asked him whose

side he was on: Abbott’s or another group of officers’.          Ashley

warned Taylor that if he was not loyal to Abbott, he would be “on

the outside looking in.”    Plaintiff responded that he was


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politically neutral.    Later, Ashley approached Taylor with

another officer and told him that Chief Abbott had sent them to

ask if he would cover up the officers’ falsification of time

slips related to a detail worked for the White Mountain Cable

Company.   (There is no admissible evidence Abbott actually said

this.)    Taylor refused to participate.

     Starting in 1998, Abbott commenced an investigation into

“double-dipping,” or working a paid detail while on duty, in

relation to the cable detail.     As a result of this investigation,

in early January 2000, Abbott presented Officer Ashley with a

written offer of stipulated discipline in which he would admit to

wrong-doing and receive six punishment days.        When the Union

refused to approve this agreement, Abbott submitted formal

disciplinary charges.    At a hearing before the Board on February

22, 2000, Ashley received two punishment days.

     In February 2000, Chief Abbott also accused Taylor of

involvement in the cable detail incident.       Taylor says that he

was brought to the Chief’s office, presented with a written offer

of stipulated discipline, given a pen, and told to sign the

papers.    Taylor denied the allegations and walked out.       Plaintiff

claims Abbott attempted to intimidate and coerce him into signing

the agreement and complained to his Sergeant about the matter.

Abbott never charged or disciplined Plaintiff.

     C. 1999 Incidents


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     In Plaintiff’s view, while the investigation was pending,

defendants retaliated against him in 1999 for refusing to

participate in the cover-up by failing to promote him, giving him

a bad shift assignment and refusing him training.

     On February 19, 1999, Abbott sent a memorandum around to all

existing supervisors asking them to provide the names of three

officers they would recommend for promotion using specific

criteria outlined in the memo.     On April 30, 1999, Abbott

submitted to the Board the surveys so it could fill two sergeant

vacancies.    Abbott’s brother, Steven Abbott, was a candidate and,

due to this conflict of interest, he made no recommendations.           On

May 4, 1999, the Board promoted Steven Abbott and Michael Lecuyer

to acting sergeants.    Abbott had been a permanent, full-time

officer since 1988 and Lecuyer had been a full-time officer since

April 1978.   Abbott and Lecuyer were made permanent sergeants on

June 28, 1999.

     That December, in anticipation of another sergeant position

opening up, Abbott requested the Board appoint an acting sergeant

with the knowledge that the position would likely be made

permanent in the future.    Abbott again solicited input from

Department supervisors, and recommended that Donald Bullock

receive the position.    Ashley was the number two candidate.          On

December 6, 1999, the Board appointed Bullock acting sergeant.

Bullock had been a permanent, full-time officer since August


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1988.

        In April 2000, the Board appointed Donald Bullock permanent

sergeant based on his 1999 promotion to acting sergeant and

consistent with Chief Abbott’s recommendation.

        Taylor also asserts that Abbott changed his shift in

retaliation for his refusal to cover-up the double-dipping

scandal.     Prior to June 2001, the Chief handled all shift

assignments.     In November 1999, Taylor was assigned to the day

shift.    Without Taylor’s knowledge or approval, Abbott

rescheduled Taylor’s daytime shift to the graveyard (12 a.m. to 8

a.m.) shift to accommodate a junior officer.           In March 2001, a

new shift assignment procedure was implemented where officers bid

on desired shifts every twelve weeks.          Of the twelve bids

submitted between July 2001 and December 2006, Taylor listed the

graveyard shift as his first choice eleven times.

        D. Letters to the Board

        In response to Abbott’s double-dipping investigation, Taylor

sent several angry letters to the Board of Selectmen.            In the

first letter sent to the Board on October 26, 2000, he requested

a written copy of the complaints issued against him by Chief

Abbott and demanded that a written letter signed by each Board

member be placed in his personnel file indicating that Chief

Abbott had falsely charged him.           The letter also recounted

Taylor’s interview with the Chief and the Chief’s accusations


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against him, and contained an allegation that Abbott had

“deceived the Board of Selectmen” by presenting one of the

officers involved in the scandal for promotion.        Taylor

threatened to pursue the matter to “the next highest level of

Justice” should the Board fail to comply with his requests.

     In an October 31, 2000 letter, Abbott responded that no

disciplinary action “was taken or is being taken” against Taylor,

that there was “no active investigation ongoing” concerning him,

and that “no disciplinary documentation concerning White Mountain

exists or is contained in [his] personnel file.”

     Taylor sent another missive to the Board on November 22,

2000 stating that Abbott’s letter “did not properly answer [his]

request” because the letter “failed to acknowledge that a

disciplinary letter initially existed,” and Abbott “did not admit

to asking [him] to sign a written complaint” or “admit to any

wrongdoing.”   Taylor also stated that he was “falsely accused of

a crime,” and that the Board “failed to have an investigation

conducted by an outside agency.”       He expressed concern that

“physical evidence ha[d] disappeared,” and that his “future

advancement in this department [had been] threatened as a direct

result of [his] previous request.”

     Plaintiff claims that in retaliation Abbott and the Board

failed to promote him again when a new sergeant position opened

up several months later in August 2001.       Deviating from his prior


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procedure, Abbott recommended to the Board that the most senior

patrol officer, Officer Sullivan, be appointed sergeant.          The

Board promoted Officer Sullivan on September 4, 2001.         Sullivan

became a permanent, full-time officer on July 1, 1980, and was

more senior than Taylor.

     F. The Union Grievance

     On July 15, 2002, Taylor filed a union grievance with Chief

Abbott, complaining that Abbott did not adhere to a prior

established overtime assignment policy or with provisions of the

collective bargaining agreement.       He further informed the Chief

that the “matter [was] not only a violation of the (CBA) but

could be brought to the attention of the EEOC and the Mass State

Ethics Commission.”

     Again, Taylor claimed he was retaliated against for filing

the grievance by being denied a promotion to a sergeant position.

In November 2002, when another position opened up, Abbott again

adopted a “most-senior” policy.        Officer Ashley received the

recommendation and was subsequently appointed acting Sergeant

effective January 2003.    Ashley became a permanent, full-time

officer on March 6, 1995 and was senior to Taylor.         On the other

hand, he had been disciplined as a result of Abbott’s

investigation.

     I. Cruiser Control

     During their shift, police officers are assigned a cruiser


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for their use.   Each cruiser is assigned to multiple officers for

use over the three shifts and, at some point, reassigned among

the officers.    During Abbott’s tenure, a Cruiser Maintenance

Supervisor was responsible for cruiser assignments.         It is

disputed whether Abbott ever had responsibility over cruiser

assignments.    Neither Chief Abbott nor Lt. Sawicki have ever

served as Maintenance Supervisor.      Taylor alleges he was assigned

to older, high mileage vehicles.

     G. More Problems

     On June 23, 2003, Taylor sent another letter to the Board

stating that Abbott’s accusation that Taylor falsified records

“was the direct and immediate result of [his] initially

complaining internally about the unlawful conduct of other

officers in [his] department.”     Taylor stated he had “experienced

many other incidents of harassment and retaliation by Chief

Abbott” since that period including but not limited to “being

precluded from competing for career advancement opportunities --

such as the January 2003 promotion of Elton Ashley . . . being

denied training and teaching opportunities, being forced to work

late shifts, being . . . subjected to a hostile work environment”

as well as other allegations.     Taylor also reiterated his

suspicion that the Board failed to investigate his claims due to

various conflicts of interest and urged it “to promptly

investigate [his] original complaint of departmental misconduct.”


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     On July 20, 2003, the Boston Globe published an article on

racial profiling during traffic stops in which a motorist was

interviewed regarding an incident with a Freetown police officer.

(Bill Dedman, Speed Trap: Who gets a ticket, who gets a break?

Boston Globe, July 20, 2003.)     Taylor issued the citation to the

person interviewed by the Globe on the night in question.

Despite Abbott’s belief that Taylor had done nothing wrong, on

July 24, 2003, Abbott ordered Taylor to review the Department’s

Racial and Gender Profiling policy and Traffic Safety policy.

     On the same day, the Board discussed Taylor’s June letter

containing allegations of retaliation and determined there was

nothing to substantiate Plaintiff’s claims.

     Additionally, sometime during the summer of 2003, Taylor

states that a secretary in the Fall River Assistant District

Attorney’s office told Taylor that she overheard Lt. Sawicki tell

an Assistant District Attorney (“ADA”) that he had faked a work-

related injury.   The secretary denies this.

     H. A New Promotion Procedure

     A new promotional procedure was instituted on June 9, 2003.

The new procedure included a written exam, a personal

recommendation from Abbott, and a Board interview.         A promotional

exam was scheduled for October 11, 2003.       Taylor signed up to

take the exam.    On October 11, 2003, three officers, not

including Taylor, took the written sergeant’s exam.         Taylor never


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took the exam because his eligibility was never confirmed.

     Because all the officers who took the October exam failed,

another test was scheduled for December 20, 2003.         Taylor’s

attorney informed the Defendants that Taylor had a scheduling

conflict and would like the exam to be rescheduled.         The letter

also expressed concern regarding fairness since Taylor had been

“repeatedly denied fair and legitimate opportunities to compete”

for a sergeant position.     Abbott rescheduled the exam to January

10, 2004 and notified Taylor.      When the exam was administered,

Taylor failed to appear.     Officer Ashley received the highest

score on the exam and was promoted from acting sergeant to

sergeant in March 2004.     Despite other opportunities, Plaintiff

never registered for or took any promotional exam.

     I. Prescription Overdose

     On September 21, 2004, Taylor was late for his shift.

Sergeant Abbott, the officer in charge, demanded an explanation.

The next day Taylor emailed Sgt. Abbott stating that he had

overslept due to prescription medication he was taking.          On

September 22, Chief Abbott instructed Taylor, pursuant to

Department Rule 13.9, to provide him with information regarding

the type of medication Plaintiff was taking by end of shift.

Taylor consulted with other officers and his union

representative, who spoke to Abbott on Taylor’s behalf.          On

September 27, Sgt. Abbott issued Taylor a counseling notice for


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being tardy.   Chief Abbott emailed Taylor a second time

requesting information.     Again, union representatives spoke to

Abbott.   Abbott placed Taylor on paid administrative leave on

October 8, 2004.    Taylor finally produced a list of medications

on October 26, 2003.

     Abbott forwarded to Town Counsel a copy of draft

disciplinary charges against Taylor on November 2, 2004.          Five

days later, on November 7, 2004, Taylor told Chief Abbott that he

was going to the FBI with information on the cable scandal.1            On

November 8, 2004, Abbott filed formal disciplinary charges

against Taylor.

     While the charges were pending, Abbott restored Taylor to

active duty.   Taylor sent Abbott a letter on November 12, 2004

requesting injured duty status because he felt he couldn’t safely

perform his job.    Due to this request, Abbott told Plaintiff to

see Dr. Mark Schaefer for a psychological evaluation.          Dr.

Schaefer reported that Taylor was disabled and suffering from

Post Traumatic Stress Disorder (“PTSD”)-type symptoms as a result

of his work accident.    While Plaintiff’s leave request was

pending, Taylor was out on sick leave available under his

collective bargaining agreement.        Initially, Taylor was not

granted extended sick leave benefits that other officers have


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      Taylor says he told Abbott that he would also report
misconduct in connection with a School Resource Officer grant
Abbott filed.
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allegedly received in the past.      However, by June 2005, Taylor

was granted injury leave benefits retroactive to the date of his

initial request in November 2004.       On September 19, 2005, the

Board considered the insubordination charges against Taylor,

eventually issuing a written reprimand.

     On October 7, 2005, Abbott received a note from Taylor’s

psychiatrist stating that he could return to duty without

restrictions and he reinstated Taylor to active duty.          However,

on November 18, 2005, Abbott received a second note from Taylor’s

psychiatrist stating he was not ready to return to work.           Chief

Abbott then referred Plaintiff to Dr. Schaefer for re-evaluation.

     Dr. Schaefer reported that Taylor was still disabled and

should consider retirement.     On February 21, 2006, Abbott filed

an involuntary accidental disability retirement application for

Taylor.   Then, on April 6, 2006, Abbott received a note from

Taylor’s psychiatrist stating he was fit for duty.         After

confirmation of his status, Abbott reinstated Taylor and withdrew

the retirement application.

                   III. SUMMARY JUDGMENT STANDARD

     “Summary judgment is appropriate when ‘the pleadings,

depositions, answers to interrogatories, and admissions on file,

together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party

is entitled to judgment as a matter of law.’”        Barbour v.


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Dynamics Research Corp., 63 F.3d 32, 36 (1st Cir. 1995) (quoting

Fed. R. Civ. P. 56(c)).     “To succeed [in a motion for summary

judgment], the moving party must show that there is an absence of

evidence to support the nonmoving party’s position.”          Rogers v.

Fair, 902 F.2d 140, 143 (1st Cir. 1990); see also Celotex Corp.

v. Catrett, 477 U.S. 317, 325 (1986).

     “Once the moving party has properly supported its motion for

summary judgment, the burden shifts to the non-moving party, who

‘may not rest on mere allegations or denials of his pleading, but

must set forth specific facts showing there is a genuine issue

for trial.’”    Barbour, 63 F.3d at 37 (quoting Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 256 (1986)).        “There must be

‘sufficient evidence favoring the nonmoving party for a jury to

return a verdict for that party.        If the evidence is merely

colorable or is not significantly probative, summary judgment may

be granted.’”   Rogers, 902 F.2d at 143 (quoting Anderson, 477

U.S. at 249-50) (citations and footnote in Anderson omitted).

The Court must “view the facts in the light most favorable to the

non-moving party, drawing all reasonable inferences in that

party’s favor.”   Barbour, 63 F.3d at 36.       In this case, all

inferences have been drawn for the Plaintiff.




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                               IV. DISCUSSION

A. § 1983 Claims

        1. Statute of Limitations2

        Defendants first argue that Plaintiff’s claims prior to

December 1, 2000 are time-barred under the applicable three-year

statute of limitations.        See Poy v. Boutselis, 352 F.3d 479, 483

(1st Cir. 2003).       Plaintiff asserts that claims prior to December

1, 2000 are timely under a continuing violation theory.             See

O’Connor v. City of Newark, 440 F.3d 125, 128 (3rd Cir. 2006);

see also Centro Medico Del Turabo, Inc. v. de Melecio, 406 F.3d

1, 6-8 (1st Cir. 2005).

        To prevail on a continuing violation theory, Plaintiff must

reach back and establish a “substantial relationship” between the

timely and untimely acts in order to recover for those prior

acts.       Sabree v. United Bd. of Carpenters and Joiners Local, 921

F.2d 396, 400-01 (1st Cir. 1990).          Courts examine several factors

to determine whether violations occurring before the time

limitations are actionable, including:

        (1) did the alleged acts involve the same type of
        discrimination, tending to connect them in a continuing
        violation?; (2) were the alleged acts reoccurring . . .
        or more in the nature of an isolated work assignment or
        employment decision?; and (3) did the act have the degree
        of permanence which should trigger an employee’s
        awareness of the duty to assert his or her rights?


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      The first complaint was filed on December 1, 2003.   The
First Amended Complaint was filed on March 23, 2004. The Second
Amended Complaint was filed on January 13, 2005.
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Smith v. Bath Iron Works Corp., 943 F.2d 164, 166 (1st Cir. 1991)

(citing Berry v. Bd. of Supervisors of L.S.U., 715 F.2d 971, 981

(5th Cir. 1983)).

     With respect to the third prong, permanence is “basically an

inquiry into what the plaintiff knew or should have known at the

time of the discriminatory act.”        Id.   “What matters is whether,

when and to what extent the plaintiff was on inquiry notice.”

Jensen v. Frank, 912 F.2d 517, 522 (1st Cir. 1990).         Thus if the

Plaintiff knew or should have known he was being retaliated

against, he had a duty to assert his rights or lose the

opportunity to bring a claim.

     Defendant argues that because Taylor filed his claim on

December 1, 2003, the statute of limitations would bar all

alleged retaliatory actions before December 1, 2000.          Plaintiff

claims four retaliatory actions in this time period due to his

refusal to participate in the cover-up: that he was not promoted

in April 1999 and December 1999; that he was denied a training

opportunity in October 1999; and that he received an unfavorable

shift assignment in November 1999.       Defendants argue that each

failure to promote represents a discrete act which, under the

Sabree standard, should have triggered plaintiff’s awareness of

his duty to assert his rights.      See Amtrak v. Morgan, 536 U.S.

101, 114 (2002).    Any claims of retaliation arising from the

failure to promote prior to December 2000 are discrete acts,

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which are time-barred.

       However, Plaintiff claims a pattern of petty harassment

including refusal to approve training, imposition of unfair shift

assignments, bad cruisers, and denial of benefits which are the

kind of recurring, impermanent acts which survive under a

continuing violation theory.

       2.   The First Amendment

       Defendants argue that Plaintiff did not engage in speech

that is protected under the First Amendment.          To prevail on a

Section 1983 claim3 alleging violations of the First Amendment,

Plaintiff must establish that: “(1) his expression involved

matters of public concern; (2) his interest in commenting upon

those matters outweighed [his public employer’s] interests in the

efficient performance of its public services; and (3) his

protected speech was a substantial or motivating factor in [his

public employer’s] adverse employment actions.”           Lewis v. City of

Boston, 321 F.3d 207, 218 (1st Cir. 2003) (internal citations

omitted).    The first two prongs are questions of law “whereas the

third prong is generally for the fact finder to decide.”            Id. at

219.

       If the plaintiff can satisfy these elements, the burden

shifts to the defendant to show, by a preponderance of the


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      Plaintiff also asserts a First Amendment claim under
Article 16 of the Massachusetts Declaration of Rights, but does
not press the claim in his brief.
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evidence, that the plaintiff would have suffered similar

treatment even in the absence of the protected speech.          Mullin v.

Town of Fairhaven, 284 F.3d 31, 38 (1st Cir. 2002).

          a.   Matters of Public Concern

     The Supreme Court has held that “[w]hether an employee’s

speech addresses a matter of public concern must be determined by

the content, form and context of a given statement, as revealed

by the whole record.”    Connick v. Meyers, 461 U.S. 138, 147-48

(1983); see also Mullin, 284 F.3d at 38.        Speech implicates a

matter of public concern if it can be “fairly considered as

relating to any matter of political, social, or other concern to

the community.”   Connick, 461 U.S. at 146.       However, when a

public employee speaks as an employee upon matters only of

personal interest “a federal court is not the appropriate forum

in which to review the wisdom of a personnel decision taken by a

public agency.”   Id. at 147.

     Plaintiff alleges that he first engaged in protected speech

in 1998 when Officers Ashley and Rose approached him in order to

gain his help in covering up the cable scandal.         “Where a public

employee speaks out on a topic which is clearly a legitimate

matter of inherent concern to the electorate, the court may

eschew further inquiry into the employee’s motives as revealed by

the ‘form and context’ of the expression.”        Baron v. Suffolk

County Sheriff’s Dep’t, 402 F.3d 225, 233 (1st Cir. 2005)


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(citation omitted).    Refusal to engage in public corruption is

related to a matter of inherent political concern to a community

and is protected speech.     See Putnam v. Town of Saugus, 365 F.

Supp. 2d 151, 169 (D. Mass. 2005).

     Plaintiff also claims that he engaged in protected speech

when he sent his October 2000 and November 2000 letters to the

Board of Selectmen.    The primary objective of those letters,

however, was not to inform the Board about the existence of

corruption in the Department but was an attempt by Taylor to

remedy a wrong he felt was perpetrated against him by Chief

Abbott who was investigating him for the double dipping.

     True, Taylor alleges that Abbott engaged in misconduct by

deceiving the Board when he presented a “tainted” officer for

promotion.   Ethical misconduct is a matter of public concern, but

the inquiry does not stop there.        A court must also look to the

form, content, and context of the communication.         The accusations

of misconduct are couched within a communication primarily

directed to remedy a personal situation.        As such, the October

2000 letter predominantly does not address matters of public

concern and is not protected speech.

     Plaintiff asserts that he also engaged in protected speech

when he filed his grievance with Chief Abbott on July 15, 2002.

In this grievance, Plaintiff complains of alleged violations of a

collective bargaining agreement in assigning overtime, including


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overtime for auxiliary training.        Plaintiff maintains that, since

the origins of the grievance can be traced to the internal

complaints about ongoing police corruption, the grievance is a

matter that raises issues of public concern.        However, the July

2002 letter is Plaintiff’s interpretation of a provision in a

collective bargaining agreement regarding assignment of overtime.

As an expression of disagreement regarding an internal personnel

matter, the grievance is not a matter of public concern.          See

Connick, 461 U.S. at 148-49.

     Plaintiff’s June 27, 2003 letter to the Board states that

Chief Abbott falsely accused him of wrongdoing in direct

retaliation for his complaints regarding unlawful conduct by

other officers.   It also alleges that the Board as well as the

union failed to act due to members’ personal relationships with

Defendants and others involved in the detail scandal.          While the

letter’s focus is on the alleged retaliatory treatment of

Plaintiff, the retaliation directly resulted from an issue

clearly touching upon a matter of public concern: police

corruption.   See Putnam, 365 F. Supp. 2d at 169.

     Alternatively, the Defendants argue that, even if

Plaintiff’s letter is determined to address a matter of public

concern, it still is not protected by the First Amendment.              In

Garcetti v. Ceballos, the Supreme Court recently held that “when

public employees make statements pursuant to their official


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duties, the employees are not speaking as citizens for First

Amendment purposes, and the Constitution does not insulate their

communications from employer discipline.” __ U.S. __, 126 S. Ct.

1951, 1960 (2006).    To demonstrate Plaintiff’s duties, Defendants

point to Rule 9.21 of the Rules and Regulations Manual of the

Freetown Police Manual, which imposes a general obligation on all

officers to report violations of departmental rules and policies

and all other laws to their superior officers.

     Defendants’ view of Garcetti would eliminate First Amendment

protection whenever an employee speaks out regarding widespread

matters of public concern because he had an obligation under the

rules to tell his superior of any rule infractions.         Taylor, who

was not a supervisor, lacks broad official responsibilities for

ensuring that other officers are not engaged in misconduct.

Garcetti is not meant to strip an employee of First Amendment

protection when speaking out regarding issues of serious and

widespread public concern, like corruption, just because a

garden-variety rule requires him to tell a supervisor.          See id.

at 1961.   Taylor’s June 2003 letter to the board is not subject

to Garcetti’s “official duty” exception.

           b. Balancing Plaintiff’s and Town’s Interests

     In Pickering v. Board of Education, the Court held that

there must be a balance between the “interests of the

[plaintiff], as a citizen, in commenting upon matters of public


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concern and the interest of the State, as an employer, in

promoting the efficiency of the public services it performs

through its employees.”     391 U.S. 563, 568 (1968).      The

Defendants do not address this analysis.        The public’s interest

in disclosing police corruption outweighs the police department’s

interest in efficiency.     See Guilloty Perez v. Pierluisi, 339

F.3d 43, 53 (1st Cir. 2003).

             c. Causal Relationship between Protected Speech
                and Retaliation

     As to the final element, the Plaintiff must produce

sufficient evidence to show a causal relationship between his

protected speech and the alleged retaliatory acts.         In doing so,

Taylor must demonstrate that the protected activity “was a

substantial or motivating factor in the adverse employment

action.”    Putnam, 365 F. Supp. 2d at 171 (citing Mihos v. Swift,

358 F.3d 91, 102 (1st Cir. 2004)).

     i.     Failure to Promote

     Plaintiff argues that defendant failed to promote him on

numerous occasions in retaliation for his protected speech.             The

first promotion arose in August 2001.       Plaintiff points out that

Chief Abbott deviated from his prior procedure and recommended

that the Board appoint the most senior patrol officer as acting

sergeant.    The Board appointed Officer Charles Sullivan to the

post of acting sergeant.     The record reflects that Officer

Sullivan was a permanent, full-time officer since 1980, seventeen

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years longer than the Plaintiff.        There is no evidence he was

unqualified, or that Sullivan was picked over Taylor to punish

Taylor for his speech.     Indeed, there is no evidence that Abbott

even knew that Plaintiff refused to engage in double-dipping, the

only protected speech that occurred prior to this selection.

     When a temporary sergeant position opened up in January

2003, Chief Abbott again followed his “most-senior” policy and

suggested that the Board appoint Elton Ashley acting sergeant.

Ashley held two-and-a-half more years of service than Plaintiff.

There is certainly a disputed fact question as to whether Officer

Ashley was qualified in light of his prior record of misconduct.

The problem is that Plaintiff’s protected speech was five years

earlier.   Taylor’s only protected activity prior to this event

was the 1998 conversation in which Plaintiff refused to engage in

the cover-up.   Again, there is no admissible evidence that Chief

Abbott was aware of this exchange or was himself involved in the

corruption, and as such, no evidence to show that Taylor’s

protected speech in 1998 was a substantial or motivating factor

in denying these promotions, or to show an improper motive on

Chief Abbott’s part.

     Subsequent to Ashley’s appointment as acting Sergeant in

January 2003, the Department implemented a new promotional

procedure which required officers to take a written examination.

Throughout the period this procedure was in place, Plaintiff


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failed to take the exam and therefore has not been considered for

promotion.    Based on this record, Plaintiff cannot demonstrate

that his protected speech was a substantial factor in his failure

to win promotion either in January 2003 or on subsequent dates.

     ii.     Assignment to Unsafe Cruisers

     Plaintiff urges the court to find that Defendants acted with

retaliatory intent when Plaintiff was assigned older, high

mileage vehicles while supervisors were assigned to other

vehicles.    However, Taylor presents no evidence to show that the

Defendants controlled or influenced the cruiser assignment

process in any way or that, prior to his June 2003 letter to the

Board, the Defendants were aware that Plaintiff had engaged in

protected conduct.    Based on this record, Taylor cannot

demonstrate that his protected speech was a substantial or

motivating factor in his cruiser assignments.

     iii. Denial of Training Opportunities

     Taylor asserts he was denied training opportunities in

retaliation for his alleged protected activities.         The first

denied training opportunity occurred in October 1999, when Abbott

turned down Taylor’s request to attend a “Train the Trainer”

course at a local community college.       This was a year after the

refusal to assist in the cover up.       Again, there is no evidence

at this point that Abbott knew of the cover up.         Accordingly,

there is no evidence of improper motive.


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     In July 2004, Plaintiff requested permission to attend a

motorcycle training course.     Defendants introduced evidence that

Chief Abbott denied Plaintiff’s request to attend the training

because of to the lateness of the request (the request was

submitted three days prior to the training), the prior approval

of another more junior officer, and Abbott’s belief that

Plaintiff did not own a motorcycle.       Taylor offers no evidence to

indicate that the denial of training was impermissibly motivated.

Moreover, there is no evidence that denial of motorcycle training

affected his employment status in any way, for example affecting

promotion or pay opportunities.      See Burlington Northern & Santa

Fe Ry. v. White, __ U.S. __, 126 S. Ct. 2405, 2415-16 (2006)

(suggesting that for a denial of training opportunities to be

actionable as a materially adverse employment action, the

training must contribute “significantly to the employee’s

professional advancement”).     Moreover, while Taylor was denied

some training opportunities, he received others.         Taylor fails to

show that denial of any training amounted to an adverse

employment action.

     iv.   Unfavorable Shift Assignments

     Taylor claims that the Defendants unlawfully retaliated

against him by assigning him to unfavorable shifts.         The record

reflects one instance where Taylor’s shift was altered without

his knowledge.   Moreover, since shift-bidding was implemented in

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June 2001, Plaintiff has bid consistently for the graveyard shift

as his first choice.    While his reasons for bidding on the

graveyard shift may have been due to a desire to avoid

interactions with Sawicki and Abbott, the record cannot support

Taylor’s contention that his shift assignments were due to

retaliation on the part of the defendants when Taylor requested

the shifts in question.

     Taylor has also failed to demonstrate, as he must, that the

lone shift change in November 1999 constituted a materially

adverse employment action.     See Noviello v. City of Boston, 398

F.3d 76, 88 (1st Cir. 2005).      While Taylor may have preferred

working a day shift, there is no objective evidence that

demonstrates he was materially disadvantaged.        See Blackie v.

Maine, 75 F.3d 716, 725 (1st Cir. 1996).        The November 1999 shift

change does not rise to the level of an adverse employment

action.

     v.   Denial of Overtime Opportunities

     Plaintiff contends that Defendants retaliated against him by

not allowing him to train auxiliary police officers.          The record

on this claim is a mess.     It appears that Department policy

regarding training of auxiliary officers has evolved since 1998.

Plaintiff has various certifications, but the record shows that

Plaintiff never requested specific assignments to teach


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auxiliaries in a given subject.      Also, the record shows that

Plaintiff’s certifications consist mainly of infrared breath test

and traffic radar certifications.       He possesses completion of

training certificates in Police Policies and Procedures and Basic

Fingerprint Recovery, but it is unclear whether those documents

reflect teaching certifications.        The auxiliary ride-along policy

changed after Plaintiff engaged in protected speech and filed

this lawsuit.   Taylor presents no evidence that once a new

auxiliary training program was in place, he made any effort to

receive status as a field training officer.        Without further

evidence in this tangled corner of the case, Taylor cannot show a

genuine issue of material fact that he was denied overtime

opportunities as a result of his protected speech.

     vi.   Maligning Plaintiff’s Reputation or Character

     Plaintiff alleges that due to investigations regarding a

racial profiling complaint and false statements allegedly made by

Lt. Sawicki his reputation has been damaged.

     The actions taken by Chief Abbott in response to the racial

profiling complaint were in accordance with his duties as Chief.

It was only upon investigation that Chief Abbott discovered that

Plaintiff issued the citation in question.        There is no evidence

that Abbott’s investigation into the racial profiling accusation

against a Freetown officer was improperly motivated.


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     Next, Plaintiff contends that Lt. Sawicki never made

comments accusing Plaintiff of faking his work injury.          As sole

evidence of this exchange, Plaintiff submits an affidavit from

himself and his wife regarding a conversation they had with Diane

Saunders.   However, Taylor presents no admissible non-hearsay

evidence that Lt. Sawicki ever made the comments.         Plaintiff has

not presented evidence to support a disputed question of fact.

     vii. IA Investigations, Letters of Counseling & Written
     Reprimand

     Plaintiff claims that an IA complaint filed by Sawicki in

December of 2003 was a retaliatory, adverse employment action.

Sawicki filed this complaint after an altercation that occurred

between Taylor and himself and shortly after filing the complaint

in this action.   Taylor concedes that this altercation occurred,

but objects to Sawicki’s characterization of his demeanor during

the incident.   No action was taken against the Plaintiff as a

result of this complaint and, as such, it cannot be deemed to be

an act of retaliation.

     The next allegedly retaliatory action taken against

Plaintiff occurred in September 2004 when Taylor was issued a

counseling notice for being tardy.       This claim is waived because

it was not asserted in the complaint.       (In any event, the

counseling notice was not issued by either of the defendants, but

by Stephen Abbott.)

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     The third IA action taken against Taylor was in connection

to Taylor’s failure to respond to the Chief’s emails regarding

medication Plaintiff was taking in November 2004.         The claim

relating to this action is also not alleged in the complaint, and

not properly before the Court.      When Plaintiff failed to respond

after multiple requests, the Chief filed formal disciplinary

charges against Plaintiff with the Board.        While the formal

charges were filed shortly after Plaintiff’s threat to go to the

F.B.I. about the alleged concealment of the White Mountain

payroll scam and the alleged falsification of information on a

grant application, the Chief had already, five days before that

threat, submitted draft charges to the Town Counsel.          As such,

even if the merits of the claim were to be considered, the

Chief’s disciplinary charges against Taylor cannot be considered

retaliatory.

     viii. Injury Leave Request

     Plaintiff also claims retaliation because Abbott refused to

grant him extended sick leave benefits in response to his injury

leave request on November 12, 2004.       This claim is not asserted

in the complaint.4


     4
       Even if it was fairly pleaded, it is unavailing. Taylor
points the Court to evidence in the record that other officers
were granted such benefits. (Pl. Ex. 33.) However, the two
documents contained in the exhibit are a settlement agreement and
an attendance record from some point in time. As a condition of
the settlement agreement, an officer was granted extended leave
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     Because Taylor has failed to present sufficient evidence of

retaliation, summary judgment is ALLOWED as to Counts I - IV of

Plaintiff’s second amended complaint, alleging violations of 42

U.S.C. § 1983 and violations of Article 16 of the Massachusetts

Declaration of Rights and the Massachusetts Civil Rights Act,

Mass. Gen. Laws c. 12 §§ 11H & 11I.

B. Massachusetts Whistleblower Statute Claim

     To succeed on his Massachusetts Whistleblower claim,

Plaintiff must show that: (1) he disclosed an activity, policy,

or practice of the employer that he reasonably believed to be in

violation of a law, rule, or regulation; (2) his disclosure

played a substantial or motivating part in the retaliatory

action; and (3) the retaliatory action caused him damages.              See

Larch v. Mansfield Mun. Elec., 272 F.3d 63, 67 (1st Cir. 2001);

see also Mass. Gen. Laws ch. 149, § 185(b)(1).

     As discussed above, Plaintiff has not demonstrated that any

retaliatory actions were taken against him subsequent to his

letter to the Board or that the disclosure was a substantial or

motivating part in any adverse employment actions.         Accordingly,

Defendant’s motion for summary judgment as to Count V is ALLOWED.



benefits almost a year after his request for injured duty status.
Taylor points to no other history of grants of extended leave
benefits. Taylor ultimately received benefits after a period of
negotiation and an eventual settlement agreement.
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C. Tortious Interference Claims

     In order to succeed on his tortious interference claim,

Plaintiff must show that (1) he had a contract with third party;

(2) the defendant knowingly induced the third party to break the

contract; (3) the defendant’s interference was intentional and by

improper motive or means; and (4) he was harmed.         Wright v.

Shriner’s Hosp., 412 Mass. 469, 476 (Mass. 1992).         The

Massachusetts Supreme Judicial Court has emphasized that to

establish tortious interference something more than intentional

interference must be established.       United Truck Leasing Corp. v.

Geltman, 406 Mass. 811, 816 (Mass. 1990.)         Further, the Supreme

Judicial Court has held that, in the context of employment

relationships, a supervisor has a right to act as he sees fit

“unless he did so ‘malevolently, i.e., for a spiteful, malignant

purpose, unrelated to the legitimate corporate interest.’”

Wright, 412 Mass. at 476 (citation omitted).

     As evidence of intentional, malicious, or improper

interference on the part of the Defendants, Taylor points the

court generally to his arguments regarding the adverse employment

actions he suffered allegedly as a result of retaliation.

“Where, as here, the claim is against an individual official of

the employer, the ‘controlling factor’ in the alleged

interference must rise to the level of ‘actual malice,’” that is,

the interference must result from “a spiteful, malignant purpose,

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unrelated to the legitimate corporate interest.”         Martin-

Kirkland, 2006 WL 1110371, at *5.       Plaintiff has not introduced

evidence to support a claim of actual malice on the part of the

Defendants unrelated to the interests of the police department.

Accordingly, Defendants motion for summary judgment on Count VI

is ALLOWED.

D. Defamation Claim

     “To withstand a motion for summary judgment for defamation,

a plaintiff must show that: (a) [t]he defendant made a statement,

concerning the plaintiff, to a third party; (b) the statement

could damage the plaintiff’s reputation in the community; (c) the

defendant was at fault in making the statement; and (d) the

statement either caused the plaintiff economic loss” or is

actionable without proof of economic loss.        Ravnikar v.

Bogojavlensky, 438 Mass. 627, 629-630 (Mass. 2003).         As a matter

of law, only statements of libel, statements charging plaintiff

with a crime, statements alleging certain diseases, and

statements that may prejudice plaintiff’s business or profession

are actionable without economic loss.       Id. at 630.

     As a threshold issue, a court must decide as a question of

law whether the statement is “reasonably susceptible of a

defamatory meaning.”    Foley v. Lowell Sun Publishing Co., 404

Mass. 9, 11 (Mass. 1989).     This inquiry requires a court to view


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the statement in “its totality in the context in which it was

uttered or published.”     Id. (citation omitted).      There are two

statements at issue under this claim.       The first involves Lt.

Sawicki’s alleged comments to an ADA.       However, there is no

admissible evidence to support plaintiff’s allegations that the

statements were made.

     The second allegation of defamatory conduct involves an

internal affairs investigation against Plaintiff.5         This

investigation involves Lt. Sawicki’s December 2003 complaint to

Chief Abbott.    Taylor’s objection stems from certain

characterizations that Lt. Sawicki makes, specifically that

Taylor spoke in a “gruff and rising voice,” acted in an

“aggressive manner,” and “appeared flushed and displayed a

hostile look.”   He disputes Lt. Sawicki’s statements that his

actions were meant to intimidate and, in Sawicki’s opinion, were

insubordinate.   In his deposition, Taylor did not testify that

the events or statements cited in Sawicki’s complaint were false.

While he testified that some of the statements and actions

alleged by Sawicki would be “out of character” for him, he could

not say with any certainty that he did not speak or act in the


     5
       Another investigation mentioned by plaintiff stemmed from
an anonymous citizen complaint regarding Taylor received by Chief
Abbott in April 2003. Sawicki, in his report, suggested Taylor
may have been insubordinate by stating that Chief Abbott
falsified data and perjured himself. This claim is not in the
complaint and will not be addressed.
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manner described in the complaint.          (See, e.g., Taylor Dep. Tr.

Vol. II: 238-264; Vol. III: l-19).

        The distinction between fact and opinion is often hard to

draw.     Moreover, opinions can be quite hurtful.         Nonetheless,

because Sawicki’s statements about Taylor’s demeanor as

“aggressive” or “hostile” are based on disclosed, non-disputed

events, the complaint cannot be considered defamatory.             See Yoke

v. Nugent, 321 F.3d 35, 42 (1st Cir. 2003) (explaining that an

“‘expression of opinion based on disclosed or assumed

nondefamatory facts is not itself sufficient for an action of

defamation, no matter how unjustified or unreasonable the opinion

may be or how derogatory it is’” quoting Lyons v. Globe Newspaper

Co., 415 Mass. 258, 266 (1993)).

        Based on the foregoing, Defendant’s motion for summary

judgment as to Count VII is ALLOWED.

                                   V. ORDER

        After hearing, review of the briefs, and review of the

extensive and complicated record, the Court ALLOWS Defendant’s

motion for summary judgment (Docket No. 73).

                                           S/PATTI B. SARIS
                                           United States District Judge




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